             IN THE DISTRICT COURT OF THE UNITED STATES
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          ASHEVILLE DIVISION

                       CRIMINAL CASE NO. 1:09cr100-2


UNITED STATES OF AMERICA,                  )
                                           )
                                           )
                    vs.                    )     ORDER
                                           )
                                           )
CHARLES PHILLIP SMITH.                     )
                                           )

         THIS MATTER is before the Court on Defendant Charles Phillip

Smith’s Motion for Judgment of Acquittal Notwithstanding the Verdict [Doc.

76].



I.       PROCEDURAL BACKGROUND

         On August 18, 2010, the Defendant Charles Phillip Smith, a United

States Postal worker, was charged in a bill of indictment along with his

wife, Robin Knight Smith, with one count of conspiring to make false

statements to federal agents, in violation of 18 U.S.C. § 371 (Count One);

one count of submitting a false document and aiding and abetting, in

violation of 18 U.S.C. §§ 1001(a)(3) and 2 (Count Nine); and four counts of

making false statements to federal agents, in violation of 18 U.S.C. §




       Case 1:09-cr-00100-MR-DLH   Document 84   Filed 03/02/11   Page 1 of 10
1001(a)(2) (Counts Ten through Thirteen). [Second Superseding

Indictment, Doc. 28]. Beginning on January 4, 2011, this case was tried for

four days before a jury. At the close of the Government’s proof, the Court

dismissed Count Ten against the Defendant. At the close of the trial, the

jury returned a verdict of not guilty against the Defendant as to Count One

and a verdict of guilty as to Counts Nine, Eleven, Twelve, and Thirteen.

[Verdict Sheet, Doc. 75].

      The Defendant now moves for a judgment of acquittal as to Counts

Nine, Eleven, Twelve, and Thirteen of the Second Superseding Bill of

Indictment, arguing that the Government failed to present any evidence of

regarding the elements of jurisdiction and materiality as required by 18

U.S.C. § 1001(a). The Defendant further argues that the Government

failed to present evidence sufficient to meet its burden of proof as to

Counts 11, 12, and 13. [Doc. 76]. The Government opposes the

Defendant’s Motion. [Doc. 83].

      The Court heard oral argument from the parties on February 23,

2011. Having been fully briefed and argued, this motion is now ripe for

disposition.




                                       2


   Case 1:09-cr-00100-MR-DLH     Document 84    Filed 03/02/11   Page 2 of 10
II.      STANDARD OF REVIEW

         When a defendant challenges a jury’s verdict on the basis of

insufficient evidence, “the verdict will be sustained if, when the evidence is

viewed in the light most favorable to the government, there is substantial

evidence to support it.” United States v. Sullivan, 455 F.3d 248, 260 (4th

Cir. 2006). “Substantial evidence is evidence that a reasonable finder of

fact could accept as adequate and sufficient to support a conclusion of a

defendant’s guilt beyond a reasonable doubt.” United States v. Young, 609

F.3d 348, 355 (4th Cir. 2010) (quoting United States v. Burgos, 94 F.3d

849, 862 (4th Cir. 1996) (en banc)). In determining the issue of substantial

evidence, the Court does “not reweigh the evidence or the credibility of the

witnesses, but assume[s] that the jury resolved all contradictions in the

testimony in favor of the Government.” United States v. Roe, 606 F.3d

180, 186 (4th Cir.), cert. denied, 131 S.Ct. 617, 178 L.Ed.2d 448 (2010).



III.     ANALYSIS

         A.    Jurisdictional Element of § 1001(a)

         In order to prove a violation of 18 U.S.C. § 1001(a)(2), the

Government must show that the defendant (1) made a false statement (2)



                                         3


       Case 1:09-cr-00100-MR-DLH   Document 84    Filed 03/02/11   Page 3 of 10
with fraudulent intent (3) regarding a material fact (4) in a “matter within the

jurisdiction of the executive, legislative, or judicial branch of the

Government of the United States.” 18 U.S.C. § 1001(a)(2). A matter is

“within the jurisdiction” of a branch of the United States Government where

the branch “has the power to exercise authority in a particular situation.”

United States v. Rodgers, 466 U.S. 475, 479, 104 S.Ct. 1942, 80 L.Ed.2d

492 (1984).

      In the present case, the Defendant argues that the Government failed

to prove the jurisdictional element of 18 U.S.C. § 1001(a) because it did not

present any evidence as to whether the United States Postal Service

(“USPS”), the entity from which the Defendant sought benefits, is a federal

agency under any one of the three branches of the United States

Government. This argument is simply without merit. During the trial, the

Government presented substantial evidence to prove that the statements

made by the Defendant pertained to a matter “within the jurisdiction” of a

branch of the Federal Government. Barbara Brown explained to the jury

how the United States Department of Labor, United States Office of

Workers’ Compensation Program (“OWCP”), oversees the USPS’s

workers’ compensation program and pays benefits to injured postal



                                        4


    Case 1:09-cr-00100-MR-DLH     Document 84     Filed 03/02/11   Page 4 of 10
workers. Doris Blair explained how a postal worker applies for and

receives benefits under the Family and Medical Leave Act (“FMLA”).

Various agents from the USPS Office of Inspector General (“OIG”) testified

how they investigate cases involving questionable on-the-job injuries,

claims of theft, and other misconduct involving postal workers. These

agents also testified that they investigated the Defendant for false

statements that he submitted on various forms prepared and used by the

USPS and the OIG. Viewing this evidence as a whole, the Court is

satisfied that the Government presented substantial evidence to meet the

statute’s jurisdictional element, and therefore, the Defendant’s motion for a

judgment of acquittal on this basis is denied.

      B.    Materiality

      Next, the Defendant contends that the Government failed to present

any evidence of materiality with respect to the false statements that he was

charged with making in Counts 9, 11, 12, and 13 of the Second

Superseding Indictment. As to Count 9, the Defendant argues that the

allegedly false statements made with respect to his FMLA claim were not

material because he never received FMLA benefits. With respect to

Counts 11, 12, and 13, the Defendant argues that his statements were not



                                      5


   Case 1:09-cr-00100-MR-DLH     Document 84     Filed 03/02/11   Page 5 of 10
material because the OWCP already had decided to pursue charges

against him prior to the August 25, 2009 interview in which he made those

statements.

      “A fact about a matter within an agency's jurisdiction is material under

§ 1001 if it has a natural tendency to influence agency action or is capable

of influencing agency action.” United States v. Ismail, 97 F.3d 50, 60 (4th

Cir. 1996) (internal quotation marks and citations omitted). A false

statement may be “material” for the purposes of § 1001 “even though the

agency did not rely on it and was not influenced by it.” United States v.

Turner, 551 F.3d 657, 663 (7th Cir. 2008) (quoting United States v. Dick,

744 F.2d 546, 553 (7th Cir.1984)), cert. denied, 129 S.Ct. 2748, 174

L.Ed.2d 249 (2009).

      In the present case, there was substantial evidence presented to

show that the statements made by the Defendant were capable of

influencing the Government and were therefore material. The fact that his

statements did not actually influence any decision making process is

therefore irrelevant. See United States v. Arch Trading Co., 987 F.2d

1087, 1095 (4th Cir. 1993) (“There is no requirement that the false

statement actually influence or effect the decision making process of a



                                      6


   Case 1:09-cr-00100-MR-DLH    Document 84    Filed 03/02/11   Page 6 of 10
department of the United States government.”) (quoting United States v.

Norris, 749 F.2d 1116, 1121 (4th Cir. 1984)); see also Turner, 551 F.3d at

664 (finding statements made to investigating agents to be material where

defendant’s “misrepresentations, under normal circumstances, could cause

FBI agents to re-direct their investigation to another suspect, question their

informant differently or more fully, or perhaps close the investigation

altogether”). The Defendant’s argument therefore is without merit.

      C.    Sufficiency of the Evidence -- Count 11

      The Defendant next challenges the sufficiency of the evidence with

respect to Count 11 of the Second Superseding Indictment. That Count

charges that during the August 25, 2009 interview with federal agents, the

Defendant falsely stated that he could not sit for long periods of time

without experiencing significant pain. The Defendant contends that he

should be acquitted of this charge because the Government failed to

present any evidence, either medical or lay, regarding the subjective pain

that he experiences after sitting for long periods of time.

      The Defendant’s argument on this point is without merit. The

Government presented substantial evidence from which the jury could have

reasonably inferred that the Defendant’s statement regarding his ability to



                                       7


   Case 1:09-cr-00100-MR-DLH     Document 84    Filed 03/02/11   Page 7 of 10
sit for long periods of time without significant pain was false. The

Government presented surveillance video footage, which showed the

Defendant mowing his lawn for over an hour without taking a break, driving

back and forth to Harrah’s Cherokee Casino, and taking his wife and

himself to doctor appointments, trips to the post office, stores, and other

places. One surveillance video in particular, taken on July 28, 2009,

showed the Defendant and his wife going to the doctor’s office, going to a

restaurant where they ate for about forty minutes, and then driving in the

mountains for about an hour before returning home. The Government also

introduced casino records, which showed that the Defendant gambled for

eighty minutes on June 17, 2009 and for 190 minutes on June 24, 2009.

This evidence is more than sufficient to support the jury’s conclusion that

the Defendant knowingly misrepresented his ability to sit for long periods of

time. The Defendant’s motion for a judgment of acquittal as to Count 11 is

therefore denied.

      D.    Sufficiency of the Evidence -- Counts 12 and 13

      The Defendant further challenges the sufficiency of the evidence with

respect to Counts 12 and 13 of the Second Superseding Indictment.

These Counts concern statements made by the Defendant during the



                                       8


   Case 1:09-cr-00100-MR-DLH     Document 84    Filed 03/02/11   Page 8 of 10
August 25, 2009 interview, wherein he told federal agents that he had not

visited Harrah’s Casino “recently” (Count 12) and that he had not traveled

to Myrtle Beach, South Carolina “recently” (Count 13).

     With respect to Count 13, the Government failed to present any

evidence at trial that the Defendant had traveled to Myrtle Beach. Without

such evidence, the Government has failed in its burden to show that the

Defendant’s statement was in fact false. Based on the lack of evidence on

this essential element, the Court concludes that the Defendant’s conviction

as to Count 13 cannot be sustained, and this Count therefore will be

dismissed.

     With respect to Count 12, the evidence presented at trial established

that the investigating agents were aware that the Defendant had visited

Harrah’s Casino on at least two occasions in June 2009. During the

August 25, 2009 interview, the investigating agents repeatedly asked the

Defendant if he had been to Harrah’s Casino “recently.” The Defendant

initially denied ever having gone to Harrah’s Casino. When told that he

had been observed there with his wife, however, the Defendant explained

that he had had himself banned from the casino premises and that if he

had been at the casino, that would have been “several months ago.”



                                     9


   Case 1:09-cr-00100-MR-DLH    Document 84   Filed 03/02/11   Page 9 of 10
        Critically, the agents never defined the term “recently” or otherwise

articulated a particular time frame for their questions. In the absence of

evidence of any common understanding of the definition or time frame for

the term “recently,” the Court cannot conclude that the Defendant’s

statement regarding his “recent” trips to the casino was false, much less

knowingly false. As such, the Court will grant a judgment of acquittal as to

Count 12.



IV.     ORDER

        For the foregoing reasons, IT IS, THEREFORE, ORDERED that the

Defendant’s Motion for Judgment of Acquittal Notwithstanding the Verdict

[Doc. 76] is GRANTED with respect to Counts Twelve and Thirteen of the

Second Superseding Indictment, and these Counts are hereby

DISMISSED. With respect to Counts Nine and Eleven of the Second

Superseding Indictment, the Defendant’s Motion [Doc. 76] is DENIED.

        IT IS SO ORDERED.
                                        Signed: March 2, 2011




                                        10


      Case 1:09-cr-00100-MR-DLH   Document 84    Filed 03/02/11   Page 10 of 10
